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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  WILLIAM JEFFREY                              )
  BURNETT, et al., individually and on         )
  behalf of others similarly situated,         )
                                               )
         Plaintiffs,                           ) CLASS ACTION
                                               )
         v.                                    ) CAUSE NO.: 1:18-cv-00200-JPH-KMB
                                               )
  CONSECO LIFE INSURANCE                       )
  COMPANY, et al.,                             )
                                               )
         Defendants.                           )

                 PLAINTIFFS’ MOTION TO REMOVE CONFIDENTIALITY
                 DESIGNATIONS FROM PLAINTIFFS’ EXPERT REPORTS

         Plaintiffs William Jeffrey Burnett and Joseph Camp, individually and on behalf of other

  members similarly situated (collectively, “Plaintiffs”), by counsel, hereby move the Court for an

  order removing all confidentiality designations from Plaintiffs’ expert reports. Specifically,

  Plaintiffs seek to remove all confidentiality designations for all excerpts, summaries, and

  descriptions of documents and testimony contained in the following reports produced by Plaintiffs’

  experts:

         1.      July 6, 2023 Merits Declaration of Mark Browne, including Exhibits 1-7 and
                 Appendices A-D.

         2.      July 6, 2023 Report of Frederick G. Heese, CPA, CFE, MBA, including
                 Appendices 1-2.

         3.      July 6, 2023 Expert Report of Rob Muriel, including Exhibits 1-12, and Exhibits
                 A-B.

         4.      October 11, 2023 Merits Rebuttal Declaration of Mark Browne, including Exhibits
                 1-2 and Appendices A-C.

         5.      October 11, 2023 Rebuttal Report of Frederick G. Heese, CPA, CFE, MBA.

         6.      October 11, 2023 Rebuttal Expert Report of Robert Muriel.
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          7.      October 20, 2023 Amended Rebuttal Declaration of Mark Browne, including
                  Exhibits 1-2 and Appendices A-C.

  In support of their motion, Plaintiffs hereby state as follows:

          Virtually all of the documents and information at issue here are at least ten years old, and

  there is no valid basis to continue to keep them confidential. “Documents that affect the disposition

  of federal litigation are presumptively open to public view, even if the litigants strongly prefer

  secrecy, unless a statute, rule, or privilege justifies confidentiality.” In re Specht, 622 F.3d 697,

  701 (7th Cir. 2010). As the Court noted in its March 8, 2021 Order denying in part the CNO

  Defendants’ motion to seal materials related to class certification, “bona fide long-term

  confidentiality” is “unlikely for many documents in this case because the events at issue took place

  more than a decade ago.” Dkt. 248 at 2. Conseco Life Insurance Company (“CLIC”) no longer

  sells new policies and has not since 2007. Nothing contained in decade-old documents could affect

  current business practices or involve potential confidential business information.

          The Court also found in the March 8, 2021 Order that it is appropriate to reveal on the

  public docket “snippets” of information “gleaned from underlying documents” that are contained

  in expert reports or brief. Id. at 3. 1 That is precisely what is at issue here.

          Pursuant to the Protective Order in this case, see Dkt. 504, Plaintiffs’ counsel first asked

  the CNO Defendants to withdraw the confidentiality designations from the expert reports on

  October 27, 2023. On November 21, 2023, the CNO Defendants told Plaintiffs that they planned

  to ask their consulting firm Milliman and Wilton Re, the company that purchased Conseco Life



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   See also Dkt. 333, Jan. 5, 2022 Order on CNO Defendants’ Motion to Seal (“The court is not
  convinced that the discussion in the briefing reveals a trade secret of proprietary business
  information the disclosure of which could harm the defendants’ current or future business
  interests. The information relates to events that occurred more than a decade ago and its
  revelation does not itself reveal the entirety of analyses that underlaid old surrender
  projections.”).


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  Insurance Company (“CLIC”; now Wilco), whether either of those entities wanted to keep the

  information confidential. On November 30, 2023, the CNO Defendants informed Plaintiffs that

  Wilco expected to want to keep some documents confidential, but that its outside counsel would

  be in depositions for two weeks and could not identify the designations until after then. CLIC

  settled with the Plaintiffs for $27 million in 2021 and, as far as Plaintiffs are aware, has no

  potential additional liability from the facts alleged by Plaintiffs.

          For the reasons stated above, Plaintiffs respectfully request an order removing all

  confidential designations from the reports listed above.



  Dated: December 1, 2023                         Respectfully submitted,

                                                  /s/ Shelli L. Calland

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